Case 3:17-cv-00072-NKM-JCH Document 863-47 Filed 09/05/20 Page 1 of 5 Pageid#:
                                  14099




                 EXHIBIT 130
Case 3:17-cv-00072-NKM-JCH Document 863-47 Filed 09/05/20 Page 2 of 5 Pageid#:
                                  14100




                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                             Charlottesville Division

  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, TYLER MAGILL, APRIL
  MUNIZ, HANNAH PEARCE, MARCUS
  MARTIN, NATALIE ROMERO, CHELSEA
  ALVARADO, and JOHN DOE,


                              Plaintiffs,
  V.



  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES
  ALEX FIELDS, JR., VANGUARD                        Civil Action No. 3:17-cv-00072-NKM
  AMERICA, ANDREW ANGLIN,
  MOONBASE HOLDINGS, LLC, ROBERT
  "'AZZMADOR" RAY, NA THAN DAMI GO,
  ELLIOT KLINE a/k/a/ ELI MOSLEY,                      MICHAEL TUBBS'S SECOND
  IDENTITY EVROPA, MATTHEW                                SUPPLEMENT TO HIS
  HEIMBACH, MATTHEW PARROTT a/k/a                             ANSWER TO
  DA YID MATTHEW PARROTT,                               PLAINTIFFS' FIRST SET OF
  TRADITIONALIST WORKER PARTY,                         INTERROGATORIES TO ALL
  MICHAEL HILL, MICHAEL TUBBS,                               DEFENDANTS
  LEAGUE OF THE SOUTH, JEFF SCHOEP,
  NATIONAL SOCIALIST MOVEMENT,
  NATIONALIST FRONT, AUGUSTUS SOL
  INVICTUS, FRATERNAL ORDER OF THE
  ALT-KNIGHTS, MICHAEL "ENOCH"
  PEINOVICH, LOY AL WHITE KNIGHTS OF
  THE KU KLUX KLAN, and EAST COAST
  KNIGHTS OF THE KU KLUX KLAN a/k/a
  EAST COAST KNIGHTS OF THE TRUE
  INVISIBLE EMPIRE,


                              Defendants.



        Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure ("FRCP"), Plaintiffs

  hereby request that Defendants answer under oath the First Set of               Interrogatories
Case 3:17-cv-00072-NKM-JCH Document 863-47 Filed 09/05/20 Page 3 of 5 Pageid#:
                                  14101




             R.        The masculine includes the feminine and neutral genders.

             S.        Unless otherwise specified, the time period to which these Interrogatories

     refer is from January I, 2015 to the present.

                                            INTERROGATORIES

             1.         Identify all means of communication used by you to communicate

     concerning the Events, whether before, during, or after the Events, and for each means of

     communication, identify all names, aliases, e-mail addresses, phone numbers, and Social

     Media Handles you used in connection with such communications, including the 18-digit

     account identifier associated with any Discord account used by You. Means of

     communications include, but are not limited to, telephone calls, in-person meetings, and all

      means of electronic communication including, for example, Social Media, email, SMS

      messages, podcasts, and online video.

                        a. Telephone calls
                                a. Redacted PII T-Mobile
                        b. in person meetings
                        c. personal computer
                        d. Email
                                a. Redacted PII
                                b. Redacted PII
                        e. Facebook, screennames:
                                a. Michael Tubbs
                                b. Mike Sable
       2.         Identify any "channel" or "server" on Discord to which you had access.

                        a. Tubbs had access to some channels but does not remember which ones

       3.         Identify all persons (natural or non-natural) with whom you communicated

                  concerning the Events, whether before, during, or after the Events.

                        a.   Michael Hill. Redacted PII
                        b.   Ike Redacted PII
                        c.   SpencerRedacted PII Redacted PII l
                        d.   Cesar Redacted PII
                        e.   Matthew Heimbach
Case 3:17-cv-00072-NKM-JCH Document 863-47 Filed 09/05/20 Page 4 of 5 Pageid#:
                                  14102



                                 UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF
                                         VIRGINIA

       ELIZABETH SINES, SETH WISPELWEY,
       MARISSA BLAIR, TYLER MAGILL, APRIL
       MUNIZ, HANNAH PEARCE, MARCUS
       MARTIN, NATALIE ROMERO, CHELSEA
       ALVARADO, and JOHN DOE,


                                     Plaintiffs,
       V.



       JASON KESSLER, RICHARD SPENCER,
       CHRISTOPHER CANTWELL, JAMES
       ALEX FIELDS, JR., VANGUARD                            Civil Action No. 3:17-cv-00072-NKM
       AMERICA, ANDREW ANGLIN,
       MOONBASE HOLDINGS, LLC, ROBERT
       "AZZMADOR" RAY, NA THAN DAMI GO,
       ELLIOT KLINE a/k/a/ ELI MOSLEY,                          MICHAEL TUBBS SECOND
       IDENTITY EVROPA, MATTHEW                                   SUPPLEMENT TO HIS
       HEIMBACH, MATTHEW PARROTT a/k/a                                ANSWER TO
       DAVID MATTHEW PARROTT,                                   PLAINTIFFS' FIRST SET OF
       TRADITIONALIST WORKER PARTY,                            INTERROGATORIES TO ALL
       MICHAEL HILL, MICHAEL TUBBS,                                  DEFENDANTS
       LEAGUE OF THE SOUTH, JEFF SCHOEP,
       NATIONAL SOCIALIST MOVEMENT,
       NATIONALIST FRONT, AUGUSTUS SOL
       INVICTUS, FRATERNAL ORDER OF THE
       ALT-KNIGHTS, MICHAEL "ENOCH"
       PEINOVICH, LOY AL WHITE KNIGHTS OF
       THE KU KLUX KLAN, and EAST COAST
       KNIGHTS OF THE KU KLUX KLAN a/k/a
       EAST COAST KNIGHTS OF THE TRUE
       INVISIBLE EMPIRE,


                                      Defendants.

                                           VERIFICATION

            I hereby declare under penalty of perjury that the facts stated in the foregoing are true

     and correct to the best of my knowledge, information, and belief and that I have complied with the
     instructions and definitions to the best of my ability.
Case 3:17-cv-00072-NKM-JCH Document 863-47 Filed 09/05/20 Page 5 of 5 Pageid#:
                                  14103
